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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA

NATIONAL URBAN LEAGUE, et al.,

                    Plaintiffs,

      v.                                          Civil Action No. 25-cv-00471

DONALD J. TRUMP, et al.,

                    Defendants.


PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION

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       The Court is faced with three Executive Orders that violate Plaintiffs’ core constitutional

rights. Defendants argue that the Court should not reach the merits of those claims because they

are “speculative” and thus not justiciable. That is not so. Defendants are already implementing

the unconstitutional orders to cancel and freeze Plaintiffs’ funding because Plaintiffs support views

the Administration opposes. Defendant CDC froze funding to AFC on January 28, 2025 and froze

a contract that funds AFC’s work on February 1; on January 31, NHFA learned that Defendant

HUD canceled a subcontract based off a keyword search of terms the Administration disfavors,

and on February 11, HUD canceled part of another equity-related NFHA subcontract; and on

March 12, NUL learned that Defendant EPA froze one of its grants. Defendants have sent

Plaintiffs and other similarly situated organizations clear specific threats that the government will

take further adverse action because of the Orders—including action punishing them for purely

private speech. Simply put, Defendants are inflicting financial and constitutional injuries now,

and therefore now is the appropriate time for the Court to enjoin them from causing further

irreparable harm to Plaintiffs.

       Plaintiffs have also shown that they are likely to prevail on the merits of their claims, and

Defendants’ arguments in opposition do not change that conclusion. Defendants hardly attempt

to explain how any of the provisions that Plaintiffs challenge as unconstitutionally vague are clear.

In addition, the Orders attack free speech much more forcefully than Defendants acknowledge.

Defendants say the Orders merely reflect the President’s “policy priorities” for government-funded

speech. Defs.’ Mem. at 11, 24, 36–37, 51, 53. But the Administration has made clear that the

Orders target private expression: the Orders explicitly try to get the “Private Sector to End Illegal




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DEI,”1 and after the President issued them, he proclaimed that his Administration “ended the

tyranny of so-called Diversity, Equity, and Inclusion policies” in “the private sector.” 2 Defendants

also say that key provisions of the Orders “target only illegal conduct” and do not “state that all

DEIA is illegal.”    Defs.’ Mem. at 14, 41.       But the Attorney General has stated—without

limitation—that the Executive Orders “mak[e] clear that policies relating to” DEI and DEIA

“‘violate the text and spirit of our longstanding Federal civil-rights laws.’” 3 And Defendants’ own

actions enforcing the Orders suggest they interpret them to mean that all efforts supporting DEIA

are unlawful.

       The evidence before this Court indicates that Plaintiffs’ funding was terminated and their

speech censored because their grants were “equity-related”; because the Administration views all

DEIA activities as illegal; and because Plaintiffs’ respect for the existence of transgender people

constitutes “promot[ion]” of so-called “gender ideology.” 4 The evidence thus shows that the

Administration targeted Plaintiffs for enforcement of the Orders because it disapproves of their

speech and the Congressionally authorized programs Plaintiffs implement. In other words, the

Administration uses the term “illegal” simply as a pejorative for programs and speech it does not




1
   Exec. Order No. 14173, § 4, Ending Illegal Discrimination and Restoring Merit-Based
Opportunity, 90 Fed. Reg. 8633, 8634 (Jan. 21, 2025) (“Anti-Diversity2 Order).
2
  Transcript of President Donald Trump’s Speech to a joint session of Congress, Associated Press
(Mar. 5, 2025), https://apnews.com/article/trump-speech-congress-transcript-751b5891a3265ff1e
5c1409c391fef7c. Also, before President Trump issued the Orders, he promised to “end all of the
Marxist diversity, equity, and inclusion policies across the entire federal government immediately,”
and “at the same time,” to “ban them from the private sector as well.” Trump Remarks at Turning
Point’s AmericaFest 2024 (Transcript), Sinju Post (Dec. 23, 2024), https://singjupost.com/trump-
remarks-at-turning-points-americafest-2024-transcript/?singlepage=1 (citations omitted).
3
  Off. of the Att’y Gen., DOJ, Ending Illegal DEI and DEIA Discrimination and
Preferences (Feb. 5, 2025), https://www.justice.gov/ag/media/1388501/dl?inline.
4
  Exec. Order No. 14168, Defending Women from Gender Ideology Extremism and Restoring
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like.5 In sum, the Executive Orders have caused and are continuing to cause harm to Plaintiffs’

constitutional rights and funding. The Defendants flatly refuse to acknowledge these harms and

seek to evade fundamental constitutional boundaries that this Court should uphold.

                                          ARGUMENT

I.     Plaintiffs’ Claims Are Justiciable.

       Defendants argue that Plaintiffs have not yet satisfied Article III standing or ripeness

requirements. But it is undisputable that federal courts are open to claims that the government is

violating and threatening to violate constitutional rights or causing concrete financial injury.

Plaintiffs can properly seek injunctive relief here, where Defendants are presently chilling and

censoring their speech, cutting their funding, and sending them written threats of future cuts.

       To establish standing, a plaintiff must show (1) an injury in fact that is (2) caused by the

defendant’s action and is (3) likely to be redressed by a favorable decision. Lujan v. Defs. of

Wildlife, 504 U.S. 555, 560–61 (1992). For practical purposes, the second and third elements—

causation and redressability—are “flip sides of the same coin,” and thus often boil down to one.

FDA v. All. for Hippocratic Med., 602 U.S. 367, 380–81 (2024) (quoting Sprint Commc’ns Co. v.

APCC Servs., Inc., 554 U.S. 269, 288 (2008)). Further, if “at least one plaintiff” can show

standing, the court “need not consider the standing of the other plaintiffs.” Carpenters Indus.

Council v. Zinke, 854 F.3d 1, 9 (D.C. Cir. 2017) (quoting Mountain States Legal Found. v.

Glickman, 92 F.3d 1228, 1232 (D.C. Cir. 1996)). Here, not just one, but all three Plaintiffs allege



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  Amicus Do No Harm invites this Court to become the first to hold, for example, that it is
“unlawful” to host support groups for women of color or direct funds obtained from housing
discrimination lawsuits back into majority Black or Latino neighborhoods. Brief for Do No Harm
as Amicus Curiae in Support of Defendants at 17. They cite no authority for the proposition that
these or other activities engaged in by Plaintiffs are unlawful, but simply ask this Court to take
their word for it. Because amicus has been granted permission to present argument, Plaintiffs will
reserve further criticism of their position until then.


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that the Executive Orders are causing or threatening to cause them injury in fact such that a

preliminary injunction would redress their harms.

       Plaintiffs’ two principal injuries from the challenged provisions are loss of funding and

chill of their First Amendment free speech rights. As to the first of these, Defendants concede that

“loss of funding could satisfy injury in fact,” Defs.’ Mem. at 38, and Plaintiffs have shown that

Defendants have already cut or frozen their funding:

 Defendant      Plaintiff   Date          Action
 CDC            AFC         Jan. 28       Froze access to funding following OMB Memo M-25- 13.
                                          Declaration of Nadeen Israel (“Israel Decl.”) ¶ 29.
 HUD            NFHA        Jan. 31       NFHA learned that HUD canceled subcontract where
                                          work order referenced DEIA. Declaration of Lisa Rice
                                          (“Rice Decl.”) ¶ 32.
 CDC,           AFC         Feb. 1        Froze contract that City of Chicago subcontracts to AFC.
 HRSA                                     Israel Decl. ¶ 31.
 HUD            NFHA        Feb. 11       Canceled part of subcontract related to housing equity
                                          and fairness. Rice Decl. ¶ 33.
 EPA            NUL         Mar. 12       NUL learned about freeze on grant for Urban
                                          Environmental       Justice Collaborative Program.
                                          Supplemental Declaration of Marc Morial (“Suppl.
                                          Morial Decl.”) ¶ 7.

Thus, it is simply untrue for Defendants to assert in their brief that “Plaintiffs fail to sufficiently

establish that any of their own federally funded grants/contracts are in imminent danger of

termination.” Defs.’ Mem. at 12.

       The injury to Plaintiffs’ protected speech, though related to their loss of funding, also

independently establishes injury. The rules for standing are “relaxed” for First Amendment claims.

Eisenstadt v. Baird, 405 U.S. 438, 445–46 & n.5 (1972). Thus, Plaintiffs need only allege that

they face “specific objective harm or a threat of specific future harm” to their speech, and not mere

“subjective ‘chill.’” Laird v. Tatum, 408 U.S. 1, 13–14 (1972). Defendants already have started

cutting off Plaintiffs’ funding based on their speech. See Rice Decl. ¶¶ 26–33; Israel Decl. ¶¶ 29–


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31; Suppl. Morial Decl. ¶ 7. Defendants have also censored AFC’s program materials to eliminate

reference to transgender people. Declaration of John Peller ¶ 11. Under these circumstances,

Defendants have given Plaintiffs plenty of reason to objectively fear reprisal for their speech.

       Even beyond the injuries they have already suffered, Plaintiffs also have standing to

challenge a law pre-enforcement if “the threatened enforcement of law is ‘sufficiently imminent.’”

Woodhull Freedom Found. v. United States, 948 F.3d 363, 370 (D.C. Cir. 2020) (quoting Susan

B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014)); see also Wright & Miller, 13B Fed. Prac.

& Proc. Juris. § 3532.5 (3d ed.) (“Legions of cases” have been brought pre-enforcement seeking

protection against threat of government enforcement). Further, “courts’ willingness to permit pre-

enforcement review is ‘at its peak’ when claims are rooted in the First Amendment,” and “[f]or

many decades, the courts have shown special solicitude to pre-enforcement challenges brought

under the First Amendment.” N.Y. Republican State Comm. v. SEC, 799 F.3d 1126, 1135–36 (D.C.

Cir. 2015) (quoting Unity08 v. FEC, 596 F.3d 861, 865 (D.C. Cir. 2010)); see also Nat’l Student

Ass’n v. Hershey, 412 F.2d 1103, 1113 (D.C. Cir. 1969) (“[S]uits alleging injury in the form of a

chilling effect may be more readily justiciable than comparable suits not so affected with a First

Amendment interest.”). Here, enforcement is imminent where Defendants have announced their

intent to apply the Orders vigorously and have sent Plaintiffs notices threatening enforcement.

See, e.g., Rice Decl. ¶¶ 26, 28 (HUD sent NFHA emails threatening to cancel funding); Declaration

of Marc Morial ¶¶ 47–48 (DOL sent NUL threatening memorandum).

       Plaintiffs have also learned about Defendants’ threats and adverse actions against similarly

situated organizations. See, e.g., Israel Decl. ¶¶ 29–30 (AFC learned about threats from CDC).

Particularly disconcerting is HUD’s decision to cancel funding to NFHA’s partner organizations.

HUD has told those organizations that it did so because certain “key words were found on [their]




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website or LinkedIn Profile,” and that based on those words it determined that their “operations

are not in compliance with the Executive Order titled ‘Ending Radical and Wasteful Government

DEI Programs and Preferencing.’” Declaration of Michelle Hayes (“Hayes Decl.”) ¶ 11. Plaintiff

NFHA works closely with those organizations and posts similar content on its website and

LinkedIn page and is thus justifiably concerned that it will be next. Supplemental Declaration of

Lisa Rice ¶¶ 3–10.

       Defendants repeatedly resort to calling Plaintiffs’ injuries “speculative.” Defs.’ Mem. at

12, 14, 20, 23, 49. But these assertions are remarkable where Defendants have already cut off

Plaintiffs’ funding, have already terminated contracts of others based solely on speech related to

DEIA, and are continuing to threaten further adverse action based on the Orders.

       As for causation and redressability, Plaintiffs also clearly allege that the Executive Orders

are causing them injury such that enjoining enforcement of the Orders will redress their harms.

Indeed, Defendants are themselves invoking the Orders as the sole authority for their adverse

actions and threats against plaintiffs. See, e.g., Rice Decl. ¶ 26 (stop work order sent to NFHA to

be “consistent with an executive order”); Hayes Decl. ¶ 11 (purporting to terminate awards as “not

in compliance with the Executive Order titled ‘Ending Radical and Wasteful Government DEI

Programs and Preferencing’”).

       In response, Defendants argue that the Orders are not self-executing, and thus not the

proper target for Plaintiffs’ claims. That argument ignores the record. Plaintiffs are suing to enjoin

enforcement of the Orders because Defendants are claiming the Orders as their authority for the

unconstitutional actions that Defendants are taking.

       Finally, Plaintiffs’ claims are also ripe for review. Defendants ask the Court to give them

the benefit of the doubt that they will not apply the law in unconstitutional ways, but they are




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already doing just that. And what matters for standing purposes is that Defendants are already

enforcing the Orders against Plaintiffs and injuring them as a result. There is thus far more than

the “mere possibility that some agency might make a legally suspect decision.” Bldg. & Const.

Trades Dep’t, AFL-CIO v. Allbaugh, 295 F.3d 28, 33 (D.C. Cir. 2002).

       The Fourth Circuit’s recent decision staying a nationwide preliminary injunction pending

the appeal in National Association of Diversity Officers in Higher Education v. Trump (“Diversity

Officers”) confirms that Plaintiffs’ claims are justiciable here. No. 25-1189 (4th Cir. Mar. 14,

2025). According to the Fourth Circuit panel, the plaintiffs had not yet alleged any actual

enforcement of the Orders against them, leading the three members of the panel to suggest claims

would be proper if and when such actions do occur. See id. at 4 n. 1 (Diaz, C.J., concurring) (“I .

. . reserve judgment on how the administration enforces these executive orders, which may well

implicate cognizable First and Fifth Amendment concerns.”), 7 (Harris, J., concurring) (“But my

vote to grant the stay comes with a caveat” that agency enforcement actions “may well raise serious

First Amendment and Due Process concerns”), 9 (Rushing, J., concurring) (expressing view that

claims were not justiciable where “this case does not challenge any particular agency action

implementing the Executive Orders”). By contrast, here, Plaintiffs bring their claims based on

facts in the record of how the Orders have already been implemented against them directly and

will continue to be implemented. See, e.g., Rice Decl. ¶¶ 26–33; Suppl. Morial Decl. ¶ 7; Israel

Decl. ¶¶ 29–31; Hayes Decl. ¶¶ 8–14. Plaintiffs’ claims are thus justiciable.

II.    Plaintiffs Are Likely to Succeed on the Merits of Their Claims.

       A.      Plaintiffs Are Likely to Succeed on the Merits of Their Fifth Amendment
               Claims.

       Plaintiffs’ opening brief explained how seven of the challenged provisions are

unconstitutionally vague. Defendants accuse Plaintiffs of “misreading” those provisions. Defs.’



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Mem. at 11. But Defendants barely make any effort to explain how those provisions satisfy the

vagueness doctrine, let alone the more stringent version of the test that applies when speech is

involved. Indeed, Defendants fail to explain numerous key terms that form the basis for Plaintiffs’

vagueness challenge, including:

      The definition of concepts that the Orders proscribe, such as “diversity,” “equity,”

       “equitable,” “equity-related,” “diversity, equity, and inclusion” (or “DEI”), or “diversity,

       equity, inclusion, and accessibility” (“DEIA”), see Pls.’ Mem. at 23–24;

      Whether those proscribed terms are related—for instance, how “diversity” differs from

       “equity,” “equity” from “equitable” or “equity-related,” and how the meaning of individual

       words change (if at all) when they are used on their own or as part of compound phrases,

       id. at 25–26;

      What it means to “promote” or “advance” DEIA or “gender ideology,” id. at 28–29, 31–

       32; or

      How officials, when they are instructed to do so, are meant to identify and “deter” “DEI

       programs or principles” whether “specifically denominated ‘DEI’ or otherwise,” id. at 31.

That failure is remarkable. Indeed, Defendants seem to concede that the Orders are vague as

written and ask the Court to excuse that vagueness because they “are still in the process of

evaluating and implementing the President’s EOs.” Defs.’ Mem. at 13. But regardless of whether

Defendants are “evaluating” the Orders, the reality is that they are enforcing and threatening to

enforce the Orders against Plaintiffs now.      And to the extent Defendants have issued any

“guidance,” id., that guidance only intensifies the vagueness by interpreting the Orders in

breathtakingly broad ways. See, e.g., Israel Decl. ¶¶ 29–30 (CDC directive to eradicate “[a]ny

vestige, remnant, or re-named piece of any DEI programs funded by the U.S. government” and



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declaring such programs “immediately, completely, and permanently terminated”). Defendants

cite an OPM Memo issued on February 5, 2025 and say that it provides “guidance on the scope of

the EOs.” Defs.’ Mem. at 34. But that single document, addressing only certain provisions, does

not provide the clarity that Plaintiffs need and that due process demands. In any event, it was

issued to Administration personnel, not to Plaintiffs and other private entities who are subject to

the Executive Orders.

       The only vague element of the Orders that Defendants engage with in any meaningful way

is the reference to discriminatory DEI in the Certification and Enforcement Threat Provisions. In

their brief, Defendants offer the same answer: that those provisions simply require Plaintiffs to

comply with “existing” law. Defs.’ Mem. at 12–13, 33, 39, 43. That might make sense in a

vacuum. But that explanation does not hold up when nearly everything else in the Orders, along

with Defendants’ statements and actions, suggest the opposite: that the Administration views all

DEI as illegal. In places, the Orders categorically refer to “illegal DEI,” without distinguishing

between legal DEI and a subset that is supposedly unlawful; the U.S. Attorney General issued a

memorandum interpreting the Orders as “making clear that policies relating to ‘diversity, equity,

and inclusion’ (‘DEI’) and ‘diversity, equity, inclusion, and accessibility’ (‘DEIA’) ‘violate the

text and spirit of our longstanding Federal civil-rights laws’ and ‘undermine our national unity’”; 6

and in implementing the Orders, Defendants have canceled funding for programs that are even

tangentially related to DEIA, without any indication that they have deemed those programs illegal.

See supra at 4 (detailing cancellations to date).

       Defendants essentially argue that Plaintiffs should understand discriminatory DEI to mean



6
 Off. of the Att’y Gen., DOJ, Ending Illegal DEI and DEIA Discrimination and
Preferences (Feb. 5, 2025), https://www.justice.gov/ag/media/1388501/dl?inline.



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one thing for purposes of the Certification and Enforcement Threat Provisions—that is, as simply

incorporating recognized legal standards—while at the same time, Defendants have criticized and

canceled programs on the grounds that all DEI is discriminatory and illegal. That provides little

guidance at all. And that is why the references to discriminatory DEI in the Certification and

Enforcement Threat Provisions are vague. How will an ordinary person seeking to comply with

those provisions feel comfortable knowing whether their expression relating to DEI satisfies

Defendants’ narrow conception of “legal” DEI, when Defendants refuse to explain the distinction

between “legal” and “illegal” DEI? They will not. Instead, those affected have censored and will

continue censoring their own speech to avoid any speech relating to DEI and “restrict[] their

conduct to that which is unquestionably safe.” Baggett v. Bullitt, 377 U.S. 360, 368 (1964). That

violates due process and inhibits free speech. See, e.g., id. (invalidating on vagueness and

overbreadth grounds an oath requiring teachers to forswear an “undefined variety” of behavior

considered “subversive” to the government).

        Instead of contending with the provisions’ vagueness on the merits, Defendants suggest

that even if the provisions are unduly vague in violation of due process standards, those standards

do not apply. Defendants are wrong.

        Defendants first try to circumvent the requirement of due process by arguing that the

Orders do not implicate an interest that due process protects. Not so. Defendants made the same

argument in Diversity Officers, and the court rejected it. No. 1:25-cv-00333, 2025 WL 573764, at

*20 n.10 (D. Md. Feb. 21, 2025). As the court said there, though Defendants argued that “it is not

‘clear’ whether Plaintiffs have a ‘property interest’ sufficient to give rise to due process protections

at all,” “that is not the law.” Id. at *20 n.10. The Diversity Officers court cited Board of Regents

of State Colleges v. Roth, 408 U.S. 564, 576–77 (1972), in which the Supreme Court recognized




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that all manner of government benefits can implicate due process.               Indeed, Defendants

acknowledge, as they must, that Plaintiffs could have a property interest in their grants and

contracts (although they argue that there is not “generally” such an interest). Defs.’ Mem. at 13,

28–29. And while Defendants primarily address property interests, due process also protects

against the deprivation of liberty interests, which are implicated here. For example, the D.C.

Circuit has recognized that private entities have a protected liberty interest in being free from

government action that causes reputational harms, which can occur when the government

terminates work with a contractor or grantee. See, e.g., Reeve Aleutian Airways, Inc. v. United

States, 982 F.2d 594, 598 (D.C. Cir. 1993) (a government contractor has a “liberty interest in

avoiding the damage to its reputation and business caused by a stigmatizing suspension”). In

addition, the Orders’ threats to place Plaintiffs on various lists implicate protected interests. See,

e.g., Joint Anti-Fascist Refugee Comm. v. McGrath, 341 U.S. 123, 143 (1951) (Black, J.,

concurring) (recognizing a right to be “free from unjustified governmental defamation” by

placement on government lists). In sum, the Orders implicate a range of protected interests.

       Failing that, Defendants argue that the Constitution’s due process requirements simply do

not apply to the Executive Orders because the Orders merely direct the Presidents’ subordinates,

and “do not directly regulate primary conduct.” Defs.’ Mem. at 25. Defendants offer no real

support for their rule cabining the reach of due process in that way. The Due Process Clause is

not itself so limited. Rather, as the Supreme Court has recognized, “[t]he touchstone of due process

is protection of the individual against arbitrary action of government,” Meachum v. Fano, 427 U.S.

215, 226 (1976) (citation omitted)—a principle that does not turn on the form of the enactment.

There is no dispute due process applies beyond statutes. See FCC v. Fox Television Studios, 567

U.S. 239, 253 (2012). And, to the extent that presidents have issued executive orders that affect




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protected interests in ways that confer standing, courts have had no trouble recognizing that such

orders must comport with due process requirements. See, e.g., Humanitarian L. Project v. U.S.

Treasury Dep’t, 578 F.3d 1133, 1146 (9th Cir. 2009) (evaluating executive orders for vagueness);

Diversity Officers, 2025 WL 573764, at *19 n.7 (“[A]lthough many vagueness challenges take

place within the statutory context, the same principles apply in the consideration of executive

orders.”); Santa Cruz Lesbian & Gay Cmty. Ctr. v. Trump, 508 F. Supp. 3d 521 (N.D. Cal. 2020)

(holding “that Plaintiffs have demonstrated a likelihood of success on their Due Process claim

challenging . . . the Executive Order as void for vagueness”). That is the case here.

       Finally, Defendants contend that case law precludes Plaintiffs from challenging the Orders

for vagueness because they are “facial in nature” and “[t]he appropriate posture for Due Process

vagueness challenges is as-applied.”       Defs.’ Mem. at 26.        But Defendants’ arguments

mischaracterize the nature of Plaintiffs’ claims and misstate the law on the availability of pre-

enforcement vagueness challenges.

       For one, Defendants erroneously cast Plaintiffs’ due process challenge as a facial pre-

enforcement challenge. In actuality, Plaintiffs’ vagueness claim is not so limited. Plaintiffs’

vagueness challenge is properly understood as an as-applied post-enforcement challenge, in that

Defendants are presently violating Plaintiffs’ due process rights by enforcing the Orders’ vague

provisions against them.

       In any event, to the extent that Defendants have not yet enforced some of the provisions

directly against Plaintiff such that the posture is still “pre-enforcement,” Plaintiffs’ claims also

readily support a pre-enforcement facial vagueness challenge. Defendants’ arguments to the

contrary lack merit.




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       Defendants overstate the extent to which there is a bar on pre-enforcement facial vagueness

challenges.   Although the Supreme Court has foreclosed pre-enforcement facial vagueness

challenges for plaintiffs whose conduct is “clearly proscribed” by a vague law such that they

cannot claim lack of fair notice, Holder v. Humanitarian Law Project, 561 U.S. 1, 20 (2010), the

D.C. Circuit has decided that that principle does not extend to pre-enforcement facial vagueness

challenges premised on the vagueness doctrine’s second consideration: the risk of arbitrary

enforcement. See Act Now to Stop War & End Racism Coal. & Muslim Am. Soc’y Freedom Found.

v. District of Columbia, 846 F.3d 391, 409–10 (D.C. Cir. 2017). In Act Now, this Circuit rejected

an argument similar to the one advanced by Defendants here that a pre-enforcement facial

vagueness was improper. Id. As the court explained, Humanitarian Law Project “addressed only

whether the statute provides a person of ordinary intelligence fair notice of what is prohibited,” id.

(cleaned up), and therefore did not “bar a facial challenge like [plaintiff’s] that a law is so vague

as to subject the challenger itself to standardless enforcement discretion.” Id. at 410 (citing Fox,

567 U.S. at 252–53 for the assumption that “vagueness challenges remain available when based

on an enforcement-discretion theory”). Plaintiffs challenge the Orders both for lack of fair notice

and for their potential for arbitrary enforcement. See Pls.’ Mem. at 22–32. Therefore, a pre-

enforcement, facial vagueness challenge is proper here. See, e.g., Woodhull Freedom Foundation

v. United States, 948 F.3d 363, 369 (D.C. Cir. 2020) (holding that plaintiffs had standing to bring

“a pre-enforcement challenge” claiming a law was “impermissibly vague” under the Fifth

Amendment).7



7
  Defendants’ attempt to narrow the scope of facial vagueness challenges is wrong in another
respect. Their brief, see Defs.’ Mem. at 27 n.2, cites Crooks v. Mabus, 845 F.3d 412, 417 (D.C.
Cir. 2016) for a rule that applies to facial vagueness challenges “[o]utside of the First Amendment
context,” while seemingly ignoring that Plaintiffs claim that the Executive Orders’ vagueness
(continued…)


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       In sum, each of Defendants’ arguments seeking to avoid reaching the merits of Plaintiffs’

vagueness claims fails. The Orders do not satisfy due process, and Plaintiffs are likely to succeed

on the merits of their Fifth Amendment due process claims.

       B.      Plaintiffs Are Likely to Succeed on the Merits of Their First Amendment
               Claims.

       By their plain terms, the Executive Orders are designed to silence private speech that

supports viewpoints the Administration dislikes. The President’s statements have revealed the

Administration’s unconstitutional project to attack private speech. Before issuing the Orders, the

President committed not only to “end all of the Marxist diversity, equity, and inclusion policies

across the entire federal government,” but also to “ban these unlawful policies from . . . the private

sector as well.”8 During his speech to Congress on March 4, 2025, the President announced:

“We’ve ended the tyranny of so-called Diversity, Equity, and Inclusion policies all across the

entire federal government and indeed the private sector and our military.” 9 In accordance with the

President’s statements, the Orders target disfavored speech both inside and outside of the federal

government. A particularly egregious example is HUD’s invoking the Executive Orders to cancel

grants based on “key words” in an organization’s “website or LinkedIn Profile”—that is, their

purely private speech. Hayes Decl. ¶ 11. Thus, the Executive Orders and Defendants’ actions

implementing them impose penalties for their privately held viewpoints.


imposes a chilling effect on protected speech. See Pls.’ Mem. at 32–33. When First Amendment
interests are at stake, pre-enforcement facial vagueness challenges are not categorically barred.
See Kolender v. Lawson, 461 U.S. 352, 358 n.8 (1983) (affirming the validity of facial vagueness
challenges if the law in question “reaches a substantial amount of constitutionally protected
conduct” (internal quotation marks and citation omitted)).
8
  Trump Remarks at Turning Point’s AmericaFest 2024 (Transcript), The Singju
Post (Dec. 23, 2024), https://singjupost.com/trump-remarks-at-turning-points-americafest-2024-
transcript/?singlepage=1.
9
  Transcript of President Donald Trump’s Speech to a joint session of Congress, Associated Press
(Mar.         5,        2025),       https://apnews.com/article/trump-speech-congress-transcript-
751b5891a3265ff1e5c1409c391fef7c.


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       Plaintiffs do not dispute that Defendants have greater latitude to regulate their own policies

and activities within the federal government. When, however, the government takes aim at private

expression of particular ideas or viewpoints, the First Amendment provides protection. See

Rosenberger v. Rector & Visitors of U. Va., 515 U.S. 819, 828 (1995) (“It is axiomatic that the

government may not regulate speech based on its substantive content or the message it conveys.”).

It is the Orders’ suppression and chilling of private speech that makes Plaintiffs likely to succeed

on the merits of their First Amendment challenge.

       Plaintiffs identify seven provisions across the Executive Orders that violate the First

Amendment and justify the need for immediate preliminary relief. As explained in their opening

brief, two provisions directly restrict speech based on viewpoint and content: the Enforcement

Threat Provision, and the Certification Provision. Pls.’ Mem. at 34–37

       In addition, these two provisions, as well as five others—the Diversity Termination

Provision, the Equity Termination Provision, the Gender Termination Provision, the Gender

Promotion Provision, and the List Provision—have the unlawful purpose and effect of chilling

disfavored speech. See Pls.’ Mem. at 37–44.          As the Supreme Court has held, “government

regulations that fall short of a direct prohibition against the exercise of First Amendment rights”

violate the First Amendment if they have a “deterrent, or ‘chilling,’ effect” on speech. Laird v.

Tatum, 408 U.S. 1, 11 (1972); see also Nat’l Rifle Ass’n of Am. v. Vullo, 602 U.S. 175, 190 (2024)

(stating “a government official cannot do indirectly what she is barred from doing directly” to

“punish or suppress disfavored speech”). One does not need to look far under the hood of the

Orders to realize they are designed precisely to chill speech. The text of the Anti-Diversity2 Order

directs officials work to end DEI in the “private sector.” Anti-Diversity2 Order § 4. And the

President himself has said their purpose is to suppress speech in the private sector. See supra at




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1–2, 14. If there were ever a set of Executive Orders designed to deter protected speech, it is these.

       Defendants offer no coherent response to Plaintiffs’ First Amendment challenge. First,

Defendants barely engage on the merits of Plaintiffs’ claim that the Enforcement Threat Provision

is a paradigmatic example of viewpoint discrimination. Instead, Defendants’ principal defense is

that the government has not yet brought enforcement actions against Plaintiffs pursuant to the

provision, and therefore Plaintiffs do not have standing to challenge it. Defs.’ Mem. at 42–43. As

explained above, Plaintiffs have adequately demonstrated a threat of future enforcement to satisfy

standing. See supra Section I. In any event, Defendants’ argument about standing does not rebut

Plaintiffs’ claim on the merits.

       The only argument that Defendants can muster on the merits is an assertion that the

Enforcement Threat Provision only targets “illegal discrimination” and for that reason “does not

purport to target a First Amendment right at all.” Defs.’ Mem. at 43–44. But as discussed above,

the Executive Orders are not so limited by either their language or their enforcement; the plain text

of the Orders, along with actions that Defendants have taken since signing the Orders, make clear

that Defendants seek to suppress all efforts promoting DEI, regardless of whether such efforts are

considered “legal” or “illegal.” See supra at 9–10.

       Second, Defendants seek to defend the Certification Provision in a way that does not

actually address the essence of Plaintiffs’ claim, which is that the provision imposes an

unconstitutional condition in violation of free speech under Agency for International Development

v. Alliance for Open Society International, Inc. (“AID”), 570 U.S. 205 (2013). As Plaintiffs

explain, the Certification Provision is just like the unconstitutional condition in AID because it

does not only require contractors and grantees to certify that they will not engage in prohibited

speech as part of their government-funded work; it requires them to certify that they will not




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engage in such speech at all as a condition for federal funding. Pls.’ Mem. at 36–37.

       Defendants attempt to draw attention away from this reality by insisting that AID is

distinguishable because the Certification Provision only “restricts [funding recipients’] ability to

engage in illegal discrimination.” Defs.’ Mem. at 40–41. Again, although the provision references

“Federal anti-discrimination laws,” Anti-Diversity2 Order § 3(b)(iv)(B), this reference is

meaningless where the Orders and Defendants’ actions make clear that in practice, the

Administration seeks to dismantle much more than unlawful activity. See supra at 9–10. If an

executive order required a person to certify that they did not engage in illegal “journalism,” or

another form of protected speech, that provision would still violate the First Amendment,

especially where the Administration makes clear that it views all or a large swath of journalism as

illegal. The same is true here.

       Defendants rely on Cutter v. Wilkinson, 423 F.3d 579 (6th Cir. 2005), to argue that

requiring compliance with law “does not amount to an unconstitutional ‘condition.’” Defs.’ Mem.

at 41. But Plaintiffs are not seeking government funds to support unlawful activities, as was the

issue in the portion of Cutter that Defendants cite. Plaintiffs do not engage in any unlawful

discrimination, for that matter. Rather, the issue is that Defendants have themselves made clear

that they view all speech supporting DEI and acknowledging the reality that transgender people

exist—including constitutionally protected speech that does not discriminate—as unlawful.

Defendants cannot block off a whole arena of protected speech by incorrectly labeling it

discriminatory or illegal.

       Third, Defendants barely engage with Plaintiffs’ claims about the ways in which the

challenged provisions—both individually and taken together—have the purpose and profound

effect of chilling speech that the Administration opposes. Instead, Defendants offer a bevy of




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discrete arguments that do not address the crux of Plaintiffs’ chilling effects argument. In any

event, none is persuasive.

        a. Rather than respond to Plaintiffs’ argument that the Gender Promotion, Gender

Termination, Diversity Termination, and Equity Termination chill speech, Defendants create a

straw man they can easily topple, by arguing that these provisions do not impose unconstitutional

conditions under AID and Rust v. Sullivan, 500 U.S. 173 (1991) or that they pertain to government

speech. See Defs.’ Mem. at 35–38; supra at 16–17. Tellingly, though, Defendants do not respond

to Plaintiffs’ arguments under the line of cases cited in Plaintiffs’ opening brief that stand for the

proposition that the First Amendment protects against governmental attempts to control speech

through indirect means. See Laird v. Tatum, 408 U.S. 1, 11 (1972); see also Pls.’ Mem. at 37–38

(collecting cases). Thus, even if the individual terms of those provisions do not directly restrict

speech outside of government-funded programs, their overall purpose and chilling effect is to do

exactly that.

        b. In rejecting Plaintiffs’ claims about the chilling effects of the Certification Provision,

Defendants insist that Plaintiffs cannot be chilled because they have “misread[] the text of the EO,

which does not purport to adopt any new construction of antidiscrimination law, or state that all

DEIA is illegal, let alone threaten liability for failure to divine this new interpretation.” Defs.’

Mem. at 41. These are hollow assurances in light of the text of the Orders and the Administration’s

actions, which demonstrate radical departures from longstanding interpretations of anti-

discrimination law. In addition, Defendants argue that any chill created by the threat of False

Claims Act liability is dispelled by the fact that an intent-based defense remains available to

Plaintiffs. Defs.’ Mem. at 41–42. Organizations may well be able to assert defenses grounded in

scienter and other elements to the extent the government brings an enforcement action or litigation




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under the False Claims Act. The availability of these defenses does not ameliorate the threat of

even potential liability under the statute and the chilling effects that flow from that threat.

       c. Defendants’ rebuttal as to McGrath and the Enforcement Threat Provision entirely

misses the point.10 Defendants respond around the edges, contending that the list aspect of the

Enforcement Threat Provision is distinguishable from the list provision in McGrath. Defs.’ Mem.

at 46. But the entire point of Justice Black’s concurrence was to recognize that the “list” of names

that the executive order directed the Attorney General to compile was akin to a bill of attainder

that the Founders forbade. Justice Black cautioned that “prejudice” against “unpopular views”

“manifests itself in much the same way in every age and country,” and that “what has happened

before can happen again”—even if it does not occur in precisely the same form. McGrath, 341

U.S. at 145 (Black, J., concurring). Justice Black’s concerns resonate here. Plaintiffs’ point is not

that the Orders are exactly like those in McGrath, or that Justice Black’s concurring opinion in

McGrath controls this case’s outcome. Rather, his persuasive reasoning is applicable here, and it

shows that the Administration’s actions here bear troubling similarities to government action that

has long been recognized as unconstitutional. Defendants’ refusal to admit these similarities

speaks volumes.

       Finally, Defendants contend that Plaintiffs’ challenges interfere with the Executive

branch’s “authority to set its enforcement priorities under the guise of protecting Free Speech.”

Defs.’ Mem. at 46. Defendants maintain that the President “has discretion to determine which

forms of unlawful discrimination to prioritize for enforcement,” and that “Plaintiffs’ theory would



10
   Defendants ignore Plaintiffs’ claim against the List Provision of the Anti-Diversity1 Order,
which directs agency heads to bring the director of OMB a list of all federal grantees who have
received funding for DEIA-related activities since the date President Trump’s first term ended.
Anti-Diversity1 Order § 2(b)(ii)(c). They neither respond to nor mention Plaintiffs’ arguments
about this provision.


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kneecap the Executive’s enforcement authority.” Id. at 45–46. Defendants do not cite a single

case saying that vague allusions to “enforcement authority” or “enforcement priorities” can justify

the Administration’s encroachment on free speech. Nor could they. Allowing Defendants to erode

First Amendment guarantees through such shallow appeals to “enforcement priorities” would only

invite further abuses.

       In short, the Executive Orders are a sweeping attempt to control and chill both government

and private speech. Our Constitution does not tolerate that kind of authority: under the First

Amendment, “[a]uthority . . . is to be controlled by public opinion, not public opinion by

authority.” W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 641 (1943). Plaintiffs are thus

likely to succeed in their First Amendment claims.

III.   Plaintiffs Have Satisfied the Remaining Factors for a Preliminary Injunction.

       A.      Absent a Preliminary Injunction, Plaintiffs Will Suffer Irreparable Harm.

       Despite wrongly arguing that Plaintiffs have not satisfied standing because their claims are

not yet ripe, Defendants make a 180-degree turn to argue that Plaintiffs’ alleged delay in moving

for preliminary injunction shows they have not suffered irreparable harm. Defs.’ Mem. at 47–48

(claiming that “Plaintiffs’ own delay in seeking preliminary relief weighs against finding

irreparable harm”). In other words, according to Defendants, Plaintiffs are too early to establish

standing and too late to establish irreparable harm. But Defendants cannot have it both ways.

       In any event, the argument fails. Plaintiffs filed the complaint on February 19, 2025, less

than one month after the President signed the Executive Orders. Plaintiffs filed a motion for

preliminary injunction less than ten days later on February 28, 2025. Plaintiffs made these filings

amid the Administration’s flurry of implementing memoranda, notices, and funding terminations,

which remain ongoing and have been relentless since the first days of President Trump’s

presidency. The short time that Plaintiffs took to process these implementing actions is more than


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reasonable and does not weigh against a finding of irreparable harm. See, e.g., Maryland v. King,

567 U.S. 1301, 1303 (2012) (rejecting an argument that a state’s “eight-week delay in applying for

a stay undermines its allegation of irreparable harm”); Aracely, R. v. Nielsen, 319 F. Supp. 3d 110,

155–56 (D.D.C. 2018) (a four-month delay in the filing of a motion for preliminary injunction did

not undermine Plaintiffs’ allegations of irreparable harms in the face of a “rapidly changing legal

landscape”).

       The two cases that Defendants cite are readily distinguishable. In Open Top Sightseeing

USA v. Mr. Sightseeing, LLC, 48 F. Supp. 3d 87 (D.D.C. 2014), the court held that a 36-day delay

in moving for preliminary relief, coupled with a request to continue a court hearing by 95 days

while the plaintiff’s obtained alternate counsel, amounted to “dilatory action.”          Id. at 90.

Defendants selectively focus on the delay of 36 days in Open Top Sightseeing, while ignoring that

the plaintiff’s 95-day hearing extension request also formed the basis for the court’s determination.

In Fund for Animals v. Frizzell, 530 F.2d 982 (D.C. Cir. 1975), the court held that the plaintiff’s

44-day delay in moving for a temporary restraining order was “inexcusable,” where the plaintiff

was on notice of proposed regulations and waited 44 days until “the final regulations were issued”

to file. Id. at 987. Here, by contrast, Plaintiffs move for a preliminary injunction, not a temporary

restraining order, and they have not waited for Defendants’ “final” word on the Executive Orders.

       Defendants’ remaining challenges are unpersuasive. As with their arguments about

standing, Defendants mischaracterize Plaintiffs’ theories of irreparable harm in a transparent

attempt to shoehorn them into categories that Defendants can then easily dismiss. But their brief

does not offer a response to Plaintiffs’ contention, based on Supreme Court precedent, that the loss

of First Amendment freedoms “for even minimal periods of time” constitutes irreparable injury.

Pls.’ Mem. at 47 (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality opinion)); see also




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Mills v. District of Columbia, 571 F.3d 1304, 1312 (D.C. Cir. 2009). Indeed, even “‘a prospective

violation of a constitutional right constitutes irreparable injury for . . . purposes’ of ‘seeking

equitable relief.’” Karem v. Trump, 960 F.3d 656, 667 (D.C. Cir. 2020) (alterations in original)

(citation omitted). As discussed above, Plaintiffs have shown a high likelihood they will suffer

the loss of constitutional rights as a result of the Executive Orders. See supra Section II.

       Nor do Defendants respond at all to Plaintiffs’ claims that the Orders “perceptibly impair[]”

the Plaintiffs’ organizational programs and “directly conflict [their] mission,” which is a type of

injury that Plaintiffs have established that courts in this Circuit recognize as irreparable. See Pls.’

Mem. at 47–49 (citing League of Women Voters of United States v. Newby, 838 F.3d 1, 8 (D.C.

Cir. 2016)).

       And although Defendants contend that Plaintiffs’ economic injuries are insufficient, they

concede that economic losses can be irreparable where they are significant enough. Defs.’ Mem.

at 50 (acknowledging that economic loss can constitute irreparable injury where it “threatens the

very existence of the movant’s business” (quoting Wis. Gas. Co. v. FERC, 758 F.2d 669, 674 (D.C.

Cir. 1985)). The declarations before this Court confirm the harm to Plaintiffs—even under the

“high bar” that Defendants insist Plaintiffs must meet. Defs.’ Mem. at 49; see Morial Decl. ¶¶ 31,

50–62 (asserting that the Executive Orders risk jeopardizing NUL’s federal funding, which

constitutes 35 percent of NUL’s annual budget, and would therefore force NUL to reduce its

staffing and “cut essential programming and assistance to the vulnerable communities it serves”);

Rice Decl. ¶¶ 19, 24–25, 35–36, 47–48 (noting that approximately one-third of budget for NFHA’s

Fair Housing Act enforcement-comes from HUD, and describing ways in which the Executive

Orders threaten NFHA’s “core business activities” by threatening critical funding streams and

causing it to divert scarce resources); Israel Decl. ¶¶ 11, 23, 39 (Executive Orders threaten AFC’s




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federal funds, which account for 83.4% of AFC’s organizational budget, given that “[m]any of our

federal awards were specifically designed to address . . . disparities in health and housing,

including related to race, gender identity, and other systemic inequities”). And, while Defendants

seek to diminish the harms to Plaintiffs as “wholly speculative,” Defs.’ Mem. at 49, there is nothing

speculative about them, as shown by the actions that Defendants have taken against Plaintiffs and

similarly situated nonprofits. See supra Section I.

       B.      The Balance of Equities and Public Interest Favor Relief.

       The balance of equities and the public interest also support granting Plaintiffs their

requested preliminary relief. Defendants largely rehash arguments that a federal district court has

already rejected. They assert that “any injunction here would effectively disable almost a dozen

federal agencies, as well as the President himself, from implementing the President’s priorities

consistent with their legal authorities,” Defs.’ Mem. at 50–51, which is the same argument

verbatim that Defendants made in Diversity Officers, and which that court dismissed. See

Diversity Officers, 2025 WL 573764, at *28. In response to Defendants’ prediction that an

injunction would hamstring the government, Diversity Officers stated: “The government is free to

promulgate regulations, take litigating positions, propose legislation, or any number of other steps,

so long as they are consistent with statutes and the Constitution.” Id.

       The same is true here. Defendants’ attempts to equate its litigation position with the public

interest fails given Plaintiffs’ strong likelihood of success on the merits. See Pursuing Am.’s

Greatness v. Fed. Election Comm’n, 831 F.3d 500, 511 (D.C. Cir. 2016) (“[T]here is always a

strong public interest in the exercise of free speech rights otherwise abridged by an

unconstitutional regulation . . . .”); Turner v. U.S. Agency for Glob. Media, 502 F. Supp. 3d 333,

386 (D.D.C. 2020) (“[G]overnment actions in contravention of the Constitution are ‘always

contrary to the public interest.’” (citation omitted)).     Preliminary relief is also particularly


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necessary here because Plaintiffs exist to provide crucial public services, and “the public interest

is served by reducing barriers to health care and other critical services for all communities.” Santa

Cruz Lesbian & Gay Cmty. Ctr. v. Trump, 508 F. Supp. 3d 521, 547 (N.D. Cal. 2020) (granting

preliminary injunction to Plaintiff AFC and others).

IV.    Defendants Urge this Court to Enter an Unduly Narrow Injunction.

       Defendants argue that any injunctive relief should be limited to Plaintiffs, should exclude

the President, and should apply against only two Defendant agencies—HUD and HHS.

Defendants claim these two agencies are the only two for whom Plaintiffs “have attempted to

allege imminent loss of federal funds.” Defs.’ Mem. at 52. Once again, Defendants have

misconstrued Plaintiffs’ claims. For one, Plaintiffs have not said that they are moving for a so-

called nationwide injunction. Nor are they moving for an injunction against President Trump. See

Mot. Prelim. Inj., ECF No. 29, at 1 n.1. Plaintiffs challenge the at-issue provisions both as-applied

and on their face, but seek an order enjoining Defendants from enforcing the provisions against

themselves only.

       Furthermore, Defendants’ contention that any injunction should only bind HHS and HUD

is wrong, given that Plaintiffs have contracts and grants with Defendant agencies named in the

complaint that remain at imminent risk of being terminated or suspended pursuant to the Orders.

Other Defendants have canceled Plaintiffs’ funds, including EPA and CDC. See Israel Decl. ¶ 31;

Suppl. Morial Decl. ¶ 7. Crediting Defendants’ position would not cure any of the chilling effects

that Plaintiffs have experienced and will experience because the threat of termination and other

penalties by any non-enjoined Defendant agencies would continue to loom over them. Moreover,

certain other Defendants that Plaintiffs name are mentioned as having implementing roles on the

face of the challenged provisions, i.e., Defendants DOJ, OMB, and OFCCP, and should be




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enjoined from enforcing those provisions against Plaintiffs on that basis. Thus, to grant Plaintiffs

the full relief provided under Fed. R. Civ. P. 65(d)(2)—against the “parties,” their “officers, agents,

servants, employees, and attorneys,” as well as any “other persons who are in active concert or

participation with” them—an injunction against HHS and HUD is insufficient.

V.      A Bond Under Rule 65(c) Is Not Appropriate.

        Under Federal Rule of Civil Procedure 65(c), a court ordering a preliminary injunction has

“broad discretion” to decide whether to order the movant to give security in the form of a bond,

“including the discretion to require no bond at all.” P.J.E.S. by & through Escobar Francisco v.

Wolf, 502 F. Supp. 3d 492, 520 (D.D.C. 2020) (citation omitted). Recently, in National Council

of Nonprofits v. OMB, another court in this District did not require any bond when it ordered a

preliminary injunction requiring the Administration to unfreeze grant funds, reasoning that “it

would defy logic” to require bond “[i]n a case where the government is alleged to have unlawfully

withheld trillions of dollars of previously committed funds to countless recipients,” especially

when the defendants “will personally face no monetary injury from the injunction.” 2025 WL

597959, at *19 (D.D.C. Feb. 25, 2025). The same reasoning applies here. Additionally, to the

extent that Defendants’ request for a bond appears to be part of a broader push by this

Administration to discourage lawsuits challenging its unlawful actions,11 the Court should reject

the Administration’s attempt to wield Rule 65(c) for the purpose of deterring organizations like

Plaintiffs from bringing litigation that vindicates their constitutional rights.

                                           CONCLUSION

        Plaintiffs respectfully request that this Court grant its motion for a preliminary injunction.



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  White House Memorandum for the Heads of Executive Departments and Agencies, Ensuring
the Enforcement of Federal Rule 65(c) (Mar. 11, 2025), https://www.whitehouse.gov/presidential-
actions/2025/03/ensuring-the-enforcement-of-federal-rule-of-civil-procedure-65c/.


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Dated: March 17, 2025                               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          The undersigned counsel hereby certifies that on March 17, 2025, the foregoing Reply

Memorandum in Support of Plaintiffs’ Motion for Preliminary Injunction was filed through the

CM/ECF system and sent electronically to the participants identified on the Notice of Electronic

Filing.



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